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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOHN DOE,                                 :       Amended Complaint Filed 1/7/20
                                Plaintiff :
                                          :       No. 1:18-CV-1370-JEJ
                    v.                    :
                                          :       Hon. John E. Jones, III
JOSH SHAPIRO, et al.,                     :
                              Defendants :        FILED UNDER SEAL


               JOINT MOTION TO AMEND CAPTION, REDACT
                PERSONAL IDENTIFIERS, AND UNSEAL CASE

      Pursuant to Rule 7(b) of the Federal Rules of Civil Procedure, Plaintiff,

Defendants, and Intervenors respectfully move the Court to amend the caption,

allow parties to redact personal identifiers, and have the case unsealed. In support

thereof, the parties state as follows:

      1.      Plaintiff, Defendants, and Intervenors agree, that in the interest of the

full administration of justice, the caption of this case should be amended to: JOHN

DOE v. JOSH SHAPIRO, in his official capacity as Attorney General of

Pennsylvania; MATTHEW FOGAL, in his official capacity as District Attorney of

Franklin County, Pennsylvania; BRIAN SINNETT, in his official capacity as

District Attorney of Adams County, Pennsylvania; DAVID W. SUNDAY, JR., in

his official capacity as District Attorney of York County, Pennsylvania; and

HEATHER ADAMS, in her official capacity as District Attorney of Lancaster

County, Pennsylvania.

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      2.      Plaintiff,1 Defendants and Intervenors further agree to adopt the

unsealing and redacting practice employed by the Third Circuit in relation to this

case, as reflected in paragraphs 3 and 4, and as modified by paragraph 5 below.

      3.      It is agreed that the case should be unsealed; however, all information

which would reveal the identity of Mr. Doe shall be redacted before filing on the

public docket. The parties agree to provide un-redacted copies of all redacted

filings to the court for docketing under seal.

      4.      Redaction will include all personal identification information and

facts which would allow the identity of the Plaintiff to be identified, such as:

           a. Plaintiff’s name,

           b. Plaintiff’s address, and

           c. the factual allegations relating to Plaintiff’s alleged criminal offense

              and subsequent charge.

      5.      The parties agree not to redact the section of the crimes code that

Plaintiff was cited with.




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       Plaintiff is a party to the present motion but maintains he also has the right to
disclose publicly that he was the subject of an investigation by the Pennsylvania
Department of Education and any information learned in connection therewith.
Plaintiff contends that the Court should unseal the record in toto but joins the
present motion without prejudice to such position.

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      WHEREFORE, the parties and intervenors respectfully request the Court

amend the caption as reflected in paragraph 1 above, allow redaction as laid out in

paragraphs 2, 4 and 5 above, and unseal the matter as laid out in paragraphs 2 and

3 above.

                                              Respectfully submitted,

                                              JOSH SHAPIRO
                                              Attorney General

                                      By:     /s/ Keli M. Neary
                                             KELI M. NEARY
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Date: May 5, 2020




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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOHN DOE,                              :      Amended Complaint Filed 1/7/20
                             Plaintiff :
                                       :      No. 1:18-CV-1370-JEJ
                  v.                   :
                                       :      Hon. John E. Jones, III
JOSH SHAPIRO, et al.,                  :
                           Defendants :       FILED UNDER SEAL


                       CERTIFICATE OF CONCURRENCE

        I, Keli M. Neary, Executive Deputy Attorney General, counsel for

Defendant Shapiro, hereby verify that counsel for all parties concur in the

foregoing Joint Motion to Amend Caption, Redact Personal Identifiers, and Unseal

Case.

                                     /s/ Keli M. Neary
                                    KELI M. NEARY
                                    Executive Deputy Attorney General

DATE: May 5, 2020
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                        CERTIFICATE OF SERVICE
      I, Keli M. Neary, Executive Deputy Attorney General for the

Commonwealth of Pennsylvania, Office of Attorney General, hereby certify that

on May 5, 2020, I caused to be served a true and correct copy of the foregoing

document titled Joint Motion to Amend Caption, Redact Personal Identifiers,

and Unseal Case to the following via email transmission:

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                            /s/ Keli M. Neary
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